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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Adele Massie,                               )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )      No.   10 C 7573
                                            )
Resurgent Capital Services, L.P., a         )
Delaware limited partnership,               )
                                            )
       Defendant.                           )      Jury Demanded

                                        COMPLAINT

       Plaintiff, Adele Massie, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.      Plaintiff, Adele Massie ("Massie"), is a citizen of the State of

Massachusetts, from whom Defendants attempted to collect a delinquent consumer

debt owed for a Credit One Bank credit card, which was then allegedly owed to a bad

debt buyer, despite the fact that she was represented by the legal aid attorneys at the

Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities
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program ("LASPD"), located in Chicago, Illinois.

       4.      Defendant, Resurgent Capital Services, L.P. (“Resurgent”), is a Delaware

limited partnership that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

directly or indirectly, delinquent consumer debts. In fact, Defendant Resurgent was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       5.      Defendant Resurgent is licensed to do business in the State of Illinois and

maintains a registered agent within the State of Illinois, see, record from the Illinois

Secretary of State, attached as Exhibit A. In fact, Defendant Resurgent conducts

business in Illinois.

       6.      Defendant Resurgent is licensed as a debt collection agency in the State

of Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, Defendant Resurgent acts as a collection agency in Illinois.

                                FACTUAL ALLEGATIONS

       7.      Ms. Massie is a senior citizen, with limited assets and income, who fell

behind on paying her bills, including a debt she owed originally to Credit One Bank. At

some point in time, an affiliate of Defendant Resurgent bought Ms. Massie’s Credit One

Bank debt after she defaulted on it, and when Defendant began trying to collect the

Credit One Bank debt from her, she sought the assistance of the legal aid attorneys at

the Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendants’ collection actions.

       8.      On August 2, 2010, one of Ms. Massie’s attorneys at LASPD informed



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Defendant, in writing, that Ms. Massie was represented by counsel, and directed

Resurgent to cease contacting her, and to cease all further collection activities because

Ms. Massie was forced, by her financial circumstances, to refuse to pay her unsecured

debt. Copies of this letter and fax confirmation are attached as Exhibit C.

       9.     Nonetheless, Defendant sent a collection letter, dated September 20,

2010, directly to Ms. Massie, which demanded payment of the Credit One Bank debt. A

copy of this letter is attached as Exhibit D.

       10.    Accordingly, on November 2, 2010, Ms. Massie’s LASPD attorney had to

send Defendant another letter, to direct it again to cease communications and to cease

collections. Copies of this letter and fax confirmation are attached as Exhibit E.

       11.    Defendant Resurgent’s collection actions complained of herein occurred

within one year of the date of this Complaint.

       12.    Defendant Resurgent’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       13.    Plaintiff adopts and realleges ¶¶ 1-12.

       14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).




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      15.    Here, the letter from Ms. Massie's agent, LASPD, told Defendant to cease

communications and cease collections (Exhibit C). By continuing to communicate

regarding this debt and demanding payment, Defendant violated § 1692c(c) of the

FDCPA.

      16.    Defendant Resurgent’s violation of § 1692c(c) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant knew, or readily could have known, that Ms. Massie was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendant, in writing (Exhibit C), that Ms. Massie was represented by

counsel, and had directed a cessation of communications with Ms. Massie. By sending

a collection letter to Ms. Massie, despite being advised that she was represented by

counsel, Defendant violated § 1692c(a)(2) of the FDCPA.

      20.    Defendant Resurgent’s violation of § 1692c(a)(2) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.



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                                  PRAYER FOR RELIEF

       Plaintiff, Adele Massie, prays that this Court:

       1.     Find that Defendants’ debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Massie, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Adele Massie, demands trial by jury.

                                                     Adele Massie,

                                                     By: /s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: November 24, 2010

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